             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
Plaintiff,                             )
                                       )
    v.                                )    Case No. 18-00323-CR-W-HFS
JOSHUA A. WEST                         )
                                       )
                                       )
Defendant.                             )

                                      ORDER

      A competency hearing was conducted on October 15, 2020, and Magistrate

Judge Jill A. Morris considered the forensic evaluation prepared by Stephen E.

Peterson, M.D., dated September 22, 2020.

      In a Report and Recommendation dated October 16, 2020, Judge Morris

noted that the parties stipulated to the contents and findings of Dr. Peterson’s

report and no additional evidence was presented. Based upon the

uncontroverted evidence, Judge Morris found that defendant was competent.




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      To-date, no objections to the Report and Recommendation have been filed,

and the time in which to do so has expired. Thus, the findings and conclusions in

the Report and Recommendation (Doc. 56) are ADOPTED by the undersigned.



                                            s/ HOWARD F. SACHS        __
                                            HOWARD F. SACHS
                                            United States District Judge

Dated: November 5, 2020
Kansas City, Missouri




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